B1 (Official Form 1)(1/08)
               No. 3:09-bk-00011
                                              United Doc 1 Filed 01/07/09 Entered 01/07/09 15:21:27
                                                     States Bankruptcy Court                                                                                       Page 1 of 69
                                                Northern District of West Virginia                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Adams, Robert Patrick                                                                                    Adams, Allison Withey


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
                                                                                                           FKA Allison Withey Hogg



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-7753                                                                                              xxx-xx-3477
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  415 Paso Corto Drive                                                                                     415 Paso Corto Drive
  Kearneysville, WV                                                                                        Kearneysville, WV
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     25430                                                                                        25430
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Jefferson                                                                                                Jefferson
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000

Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
             No. 3:09-bk-00011                   Doc 1         Filed 01/07/09 Name
                                                                                Entered    01/07/09 15:21:27
                                                                                   of Debtor(s):                                               Page 2 of 69
Voluntary Petition                                                                        Adams, Robert Patrick
(This page must be completed and filed in every case)                                     Adams, Allison Withey
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Aaron C. Amore                                  January 7, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Aaron C. Amore WV#6455

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
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                                                                                  Entered    01/07/09 15:21:27
                                                                                     of Debtor(s):                                            Page 3 of 69
Voluntary Petition                                                                          Adams, Robert Patrick
(This page must be completed and filed in every case)                                       Adams, Allison Withey
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                         Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Robert Patrick Adams                                                             X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Robert Patrick Adams

 X    /s/ Allison Withey Adams                                                                 Printed Name of Foreign Representative
     Signature of Joint Debtor Allison Withey Adams
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     January 7, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Aaron C. Amore
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Aaron C. Amore WV#6455                                                                   debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Kratovil & Amore, PLLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      211 W. Washington Street
      Charles Town, WV 25414                                                                   Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                       Email: amore@charlestownlaw.com
      (304) 728 7718 Fax: (304) 728 7720
     Telephone Number
     January 7, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D(Official Form 1, Exhibit D) (12/08)
                                                                 United States Bankruptcy Court
                                                                    Northern District of West Virginia
             Robert Patrick Adams
 In re       Allison Withey Adams                                                                          Case No.
                                                                                       Debtor(s)           Chapter     7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Robert Patrick Adams
                                                   Robert Patrick Adams
 Date:         January 7, 2009




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B 1D(Official Form 1, Exhibit D) (12/08)
                                                                 United States Bankruptcy Court
                                                                    Northern District of West Virginia
             Robert Patrick Adams
 In re       Allison Withey Adams                                                                          Case No.
                                                                                       Debtor(s)           Chapter     7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Allison Withey Adams
                                                   Allison Withey Adams
 Date:         January 7, 2009




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B6 Summary (Official Form 6 - Summary) (12/07)
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                                                                  United States Bankruptcy Court
                                                                     Northern District of West Virginia
  In re          Robert Patrick Adams,                                                                               Case No.
                 Allison Withey Adams
                                                                                                                ,
                                                                                               Debtors               Chapter                   7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS               LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1               1,250,000.00


B - Personal Property                                             Yes                 4                  62,167.01


C - Property Claimed as Exempt                                    Yes                 2


D - Creditors Holding Secured Claims                              Yes                 3                                    2,057,608.00


E - Creditors Holding Unsecured                                   Yes                 2                                          3,000.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 11                                       403,647.21
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                 8,195.39
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                 8,310.28
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            28


                                                                                Total Assets          1,312,167.01


                                                                                                 Total Liabilities         2,464,255.21




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Form 6 - Statistical Summary (12/07)
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                                                                  United States Bankruptcy Court
                                                                     Northern District of West Virginia
  In re           Robert Patrick Adams,                                                                               Case No.
                  Allison Withey Adams
                                                                                                           ,
                                                                                        Debtors                       Chapter                7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                               3,000.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                   22,017.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                                TOTAL                      25,017.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                        8,195.39

              Average Expenses (from Schedule J, Line 18)                                                      8,310.28

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                         7,883.34


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                  796,843.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                               3,000.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                            403,647.21

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       1,200,490.21




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  In re          Robert Patrick Adams,                                                                              Case No.
                 Allison Withey Adams
                                                                                                        ,
                                                                                          Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption

Residence: Single Family Home; Primary Residence                                                            W                  475,000.00               453,765.00
on 5 acre lot
Location: 415 Paso Corto Drive
Kearneysville, WV 25430

Farm Home with two barns on 27.5 acres. Acreage                                                             J                  500,000.00            1,083,000.00
and barns were rented for horse boarding and
training.
Location: 261 Falcon Ridge Drive
Charles Town, WV 25414

Rental: Townhome; Rental Property; Currently                                                                J                   85,000.00               141,661.00
Vacant
Location: 113 N. Church Street
Charlestown, WV 25414

Rental: Single family home; Currently Vacant                                                                J                  125,000.00               208,682.00
Location: 1744 Charlestown Road
Martinsburg, WV 25405 (Berkeley County)

Residence Addl: Single family home; Used for                                                                J                   65,000.00               132,975.00
business purposes
Location: 3568 Charles Town Road (also addressed
as 3582)
Kearneysville, WV 25430 (Berkeley County)




                                                                                                        Sub-Total >        1,250,000.00         (Total of this page)

                                                                                                                Total >    1,250,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                        (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)
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  In re          Robert Patrick Adams,                                                                                  Case No.
                 Allison Withey Adams
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              cash                                                              J                           200.00

2.     Checking, savings or other financial                      Bank Account: Cash in primary checking                            J                           875.37
       accounts, certificates of deposit, or                     Location: Centra Bank
       shares in banks, savings and loan,                        Foxcroft Avenue
       thrift, building and loan, and                            Martinsburg, WV
       homestead associations, or credit
       unions, brokerage houses, or                              Bank Account: Cash in Checking account                            W                           288.48
       cooperatives.                                             Location: Bank of Charlestown
                                                                 Charlestown, WV

                                                                 Bank Account: Operating funds for Great Inflates,                 J                           933.83
                                                                 LLC
                                                                 Location: Centra Bank
                                                                 Foxcroft Avenue
                                                                 Martinsburg, WV

                                                                 Jefferson Security Campaign Account                               J                            48.46

                                                                 Jefferson Security Bank checking                                  J                           145.87

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          LivRm$500 DinRm$500 4BedRm$800,                                   J                        2,425.00
       including audio, video, and                               washer/dryer$300, tv$100, computer$25,
       computer equipment.

5.     Books, pictures and other art                             books, pictures                                                   J                           100.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          No value except to debtor(s)                                      J                              0.00

7.     Furs and jewelry.                                         jewelry                                                           J                           100.00

8.     Firearms and sports, photographic,                        camera, riding equipment                                          J                           200.00
       and other hobby equipment.


                                                                                                                                   Sub-Total >            5,317.01
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Robert Patrick Adams,                                                                                  Case No.
                 Allison Withey Adams
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

9.     Interests in insurance policies.                          Linfe insurance. No cash in value                                 J                              0.00
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                          Great Inflates                                                    J                      10,000.00
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.




                                                                                                                                   Sub-Total >          10,000.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Robert Patrick Adams,                                                                                  Case No.
                 Allison Withey Adams
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

20. Contingent and noncontingent                                 Debtor Wife is on of several beneficiaries of trust               J                      Unknown
    interests in estate of a decedent,                           which provides for stipend payments after the
    death benefit plan, life insurance                           death of her mother (still with the living) and then
    policy, or trust.                                            full disbursement 21 years after the death of her
                                                                 mother.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           Auto: 1993 GMC Sierra 3500; Fair; 51,000 miles                    J                           500.00
    other vehicles and accessories.
                                                                 Auto: 2006 Toyota Tundra; Fair; 38,000 miles                      W                      12,000.00

                                                                 Auto: 1997 Honda Civic LX; Poor; 132,000 miles                    J                           500.00

                                                                 Auto: 2005 Honda Odyssey EX, Good; 60,000 miles                   J                      11,000.00

                                                                 Trailer: 2003 Utility Trailer                                     J                           300.00

                                                                 Trailer: 2004 Utility trailer                                     J                           350.00

                                                                 Trailer: Used horse trailer                                       J                           200.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.


                                                                                                                                   Sub-Total >          24,850.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Robert Patrick Adams,                                                                                  Case No.
                 Allison Withey Adams
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                     4 horses and 1 pony                                                J                          500.00

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                          John Deere 4720Tractor, x400 loader and post hole                  W                     20,000.00
    not already listed. Itemize.                                 digger 31A

                                                                 misc tools used in relation to business.Lawn                       J                       1,500.00
                                                                 Mowet




                                                                                                                                   Sub-Total >          22,000.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         62,167.01
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (12/07)
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   In re          Robert Patrick Adams,                                                                                  Case No.
                  Allison Withey Adams
                                                                                                                ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of           Current Value of
                    Description of Property                                               Each Exemption                       Claimed            Property Without
                                                                                                                              Exemption         Deducting Exemption
Real Property
Residence: Single Family Home; Primary                                           WV Const. art. 6 § 48,; W. Va. Code               21,235.00               475,000.00
Residence on 5 acre lot                                                          §§ 38-9-1, 38-10-4(a)
Location: 415 Paso Corto Drive
Kearneysville, WV 25430

Cash on Hand
cash                                                                             WV Const. art. 6 § 48,; W. Va. Code                  200.00                     200.00
                                                                                 §§ 38-9-1, 38-10-4(a)

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank Account: Cash in primary checking            W. Va. Code § 38-10-4(e)                                                            875.31                     875.37
Location: Centra Bank
Foxcroft Avenue
Martinsburg, WV

Bank Account: Cash in Checking account                                           WV Const. art. 6 § 48,; W. Va. Code                  288.46                     288.48
Location: Bank of Charlestown                                                    §§ 38-9-1, 38-10-4(a)
Charlestown, WV

Bank Account: Operating funds for Great                                          WV Const. art. 6 § 48,; W. Va. Code                  933.83                     933.83
Inflates, LLC                                                                    §§ 38-9-1, 38-10-4(a)
Location: Centra Bank
Foxcroft Avenue
Martinsburg, WV

Jefferson Security Campaign Account                                              W. Va. Code § 38-10-4(e)                              48.46                      48.46

Jefferson Security Bank checking                                                 W. Va. Code § 38-10-4(e)                             145.87                     145.87

Household Goods and Furnishings
LivRm$500 DinRm$500 4BedRm$800,                                                  W. Va. Code § 38-10-4(c)                           2,425.00                  2,425.00
washer/dryer$300, tv$100, computer$25,

Books, Pictures and Other Art Objects; Collectibles
books, pictures                                     WV Const. art. 6 § 48,; W. Va. Code                                               100.00                     100.00
                                                    §§ 38-9-1, 38-10-4(a)

Furs and Jewelry
jewelry                                                                          W. Va. Code § 38-10-4(d)                             100.00                     100.00

Stock and Interests in Businesses
Great Inflates                                                                   WV Const. art. 6 § 48,; W. Va. Code               10,000.00                 10,000.00
                                                                                 §§ 38-9-1, 38-10-4(a)

Automobiles, Trucks, Trailers, and Other Vehicles
Auto: 1993 GMC Sierra 3500; Fair; 51,000 miles                                   W. Va. Code § 38-10-4(b)                             500.00                     500.00

Auto: 1997 Honda Civic LX; Poor; 132,000 miles                                   W. Va. Code § 38-10-4(b)                             500.00                     500.00



    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (12/07) -- Cont.
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   In re          Robert Patrick Adams,                                                                                Case No.
                  Allison Withey Adams
                                                                                                               ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                      (Continuation Sheet)

                                                                                       Specify Law Providing               Value of            Current Value of
                    Description of Property                                               Each Exemption                   Claimed             Property Without
                                                                                                                          Exemption          Deducting Exemption

Auto: 2005 Honda Odyssey EX, Good; 60,000                                        WV Const. art. 6 § 48,; W. Va. Code          11,000.00                 11,000.00
miles                                                                            §§ 38-9-1, 38-10-4(a)

Trailer: 2003 Utility Trailer                                                    W. Va. Code § 38-10-4(b)                          300.00                   300.00

Trailer: 2004 Utility trailer                                                    W. Va. Code § 38-10-4(b)                          350.00                   350.00

Trailer: Used horse trailer                                                      W. Va. Code § 38-10-4(b)                          200.00                   200.00

Animals
4 horses and 1 pony                                                              WV Const. art. 6 § 48,; W. Va. Code               500.00                   500.00
                                                                                 §§ 38-9-1, 38-10-4(a)

Other Personal Property of Any Kind Not Already Listed
misc tools used in relation to business.Lawn      WV Const. art. 6 § 48,; W. Va. Code                                             1,500.00               1,500.00
Mowet                                             §§ 38-9-1, 38-10-4(a)




                                                                                                      Total:                  51,201.93               504,967.01
 Sheet       1     of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re          Robert Patrick Adams,                                                                                            Case No.
                  Allison Withey Adams
                                                                                                                      ,
                                                                                                     Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                            I    Q   U                      PORTION, IF
                                                                T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                  SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxxxxxxxx5056                                               Opened 5/01/07 Last Active 10/29/07                         E
                                                                                                                                    D

Bank Of America                                                       Farm Home with two barns on 27.5
                                                                      acres. Acreage and barns were rented
475 Crosspoint Pkwy
                                                                      for horse boarding and training.
Getzville, NY 14068
                                                                    H Location: 261 Falcon Ridge Drive
                                                                      Charles Town, WV 25414
                                                                         Value $                            500,000.00                          900,000.00         400,000.00
Account No.                                                             Deed of Trust

Clear View Funding, LLC                                               Residence: Single Family Home; Primary
P.O. Box 2149                                                         Residence on 5 acre lot
Gig Harbor, WA 98335                                                  Location: 415 Paso Corto Drive
                                                                    J Kearneysville, WV 25430

                                                                         Value $                            475,000.00                           40,476.00                   0.00
Account No. xxxxx2945                                                 Opened 3/01/06 Last Active 10/03/08
                                                                      Residence Addl: Single family home;
Countrywide Home Lending                                              Used for business purposes
Attention: Bankruptcy SV-314B                                         Location: 3568 Charles Town Road (also
                                                                      addressed as 3582)
Po Box 5170
                                                                    H Kearneysville, WV 25430 (Berkeley
Simi Valley, CA 93062                                                 County)
                                                                         Value $                               65,000.00                        132,975.00           67,975.00
Account No. xxxxx2517                                                   Opened 11/01/06 Last Active 10/17/08

Countrywide Home Lending                                              Rental: Townhome; Rental Property;
Attention: Bankruptcy SV-314B                                         Currently Vacant
Po Box 5170                                                           Location: 113 N. Church Street
                                                                    H Charlestown, WV 25414
Simi Valley, CA 93062

                                                                         Value $                               85,000.00                        125,913.00           40,913.00
                                                                                                                            Subtotal
 2
_____ continuation sheets attached                                                                                                            1,199,364.00         508,888.00
                                                                                                                   (Total of this page)




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   In re          Robert Patrick Adams,                                                                                            Case No.
                  Allison Withey Adams
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxxxx2509                                                   Opened 11/01/06 Last Active 7/11/08                         E
                                                                                                                                    D

Countrywide Home Lending                                              Rental: Townhome; Rental Property;
Attention: Bankruptcy SV-314B                                         Currently Vacant
Po Box 5170                                                           Location: 113 N. Church Street
                                                                    H Charlestown, WV 25414
Simi Valley, CA 93062

                                                                         Value $                               85,000.00                         15,748.00           15,748.00
Account No. xxxxxxxxx3484                                               Opened 2/01/06 Last Active 6/05/08

Homeq                                                                 Rental: Single family home; Currently
                                                                      Vacant
Attn: Bankruptcy Department
                                                                      Location: 1744 Charlestown Road
1100 Corporate Center
                                                                    H Martinsburg, WV 25405 (Berkeley
Raleigh, NC 27607                                                     County)
                                                                         Value $                            125,000.00                          166,791.00           41,791.00
Account No. xxxxxxxxx3666                                               Opened 2/01/06 Last Active 6/04/08

Homeq                                                                 Rental: Single family home; Currently
                                                                      Vacant
Attn: Bankruptcy Department
                                                                      Location: 1744 Charlestown Road
1100 Corporate Center
                                                                    H Martinsburg, WV 25405 (Berkeley
Raleigh, NC 27607                                                     County)
                                                                         Value $                            125,000.00                           41,891.00           41,891.00
Account No. xxxxxxxx-xx & xxxxxxxxxx64-01                               2008

Mid Atlantic Farm Credit, ACA                                           Purchase Money Security
1614 Churchville Rd
Suite 102                                                             John Deere 4720Tractor, x400 loader
                                                                    J and post hole digger 31A
P.O. Box 648
Bel Air, MD 21014
                                                                         Value $                               20,000.00                         20,335.00               335.00
Account No. xxxxxxxxxxxxx0001                                           Opened 11/01/06 Last Active 11/07/08

Toyota Motor Credit                                                     Auto: 2006 Toyota Tundra; Fair; 38,000
Must call 800-874-8822 for mailing                                      miles
addre
                                                                    J

                                                                         Value $                               12,000.00                         17,190.00             5,190.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                261,955.00         104,955.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.
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   In re          Robert Patrick Adams,                                                                                          Case No.
                  Allison Withey Adams
                                                                                                                    ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                            O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                             I    Q   U
                                                                                                                                             DEDUCTING
                                                                T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                           G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxxxxxxxxxx1998                                           Opened 9/01/07                                            E
                                                                                                                                  D

Wells Fargo Bank NV NA                                                Farm Home with two barns on 27.5
                                                                      acres. Acreage and barns were rented
PO Box 31557
                                                                      for horse boarding and training.
Billings, MT 59107
                                                                    H Location: 261 Falcon Ridge Drive
                                                                      Charles Town, WV 25414
                                                                         Value $                            500,000.00                        183,000.00         183,000.00
Account No. xxxxxxxxx1567                                               Opened 2/01/08

Wells Fargo Home Mortgage                                             Residence: Single Family Home; Primary
Attention: Bankruptcy Department                                      Residence on 5 acre lot
MAC-X                                                                 Location: 415 Paso Corto Drive
                                                                    J Kearneysville, WV 25430
3476 Stateview Blvd
Fort Mill, SC 29715
                                                                         Value $                            475,000.00                        413,289.00                   0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                     Subtotal
                                                                                                                                              596,289.00         183,000.00
Schedule of Creditors Holding Secured Claims                                                                     (Total of this page)
                                                                                                                             Total          2,057,608.00         796,843.00
                                                                                                   (Report on Summary of Schedules)

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B6E (Official Form 6E) (12/07)
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  In re          Robert Patrick Adams,                                                                                    Case No.
                 Allison Withey Adams
                                                                                                              ,
                                                                                           Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
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 B6E (Official Form 6E) (12/07) - Cont.
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   In re          Robert Patrick Adams,                                                                                          Case No.
                  Allison Withey Adams
                                                                                                                    ,
                                                                                                     Debtors
                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No. xx-xxx0700                                                  FY 2008                                                   E
                                                                                                                                  D

WV State Tax Department                                                 Sales Tax 2008 sales and use tax
Charleston, WV                                                          payment due to state of WV 12/31/08                                                  0.00
Charleston, WV 25440
                                                                    J

                                                                                                                                                 3,000.00              3,000.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)            3,000.00             3,000.00
                                                                                                                             Total                           0.00
                                                                                                   (Report on Summary of Schedules)              3,000.00             3,000.00

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 B6F (Official Form 6F) (12/07)
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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. various                                                                    23109630386001                                        T   T
                                                                                                                                                 E
                                                                                       23110178001004                                            D

Allegheny Power                                                                        23103603220009
800 Cabin Hill Drive                                                                 J 23109630389001
Greensburg, PA 15606                                                                   23108628012601
                                                                                       23109630385001
                                                                                       23110178312102
                                                                                       23106177510006                                                                    1,416.86
Account No. xxxxxxxxxxxx8683                                                           Opened 9/10/01
                                                                                       Credit Card
American Express                                                                       7-31088
c/o Becket and Lee                                                                   H Delta
PO Box 3001
Malvern, PA 19355
                                                                                                                                                                       12,414.00
Account No. xxxxxx9504

AOL
P.O. Box 30623                                                                       J
Tampa, FL 33630-0623

                                                                                                                                                                           103.60
Account No. 2786                                                                         Opened 5/01/01
                                                                                         Credit Card
Bac / Fleet Bankcard
PO Box 26012                                                                         H
Greensboro, NC 27420

                                                                                                                                                                       21,659.00

                                                                                                                                           Subtotal
 10 continuation sheets attached
_____                                                                                                                                                                  35,593.46
                                                                                                                                 (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.
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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 8519                                                                         Opened 5/01/05                                          E
                                                                                         Credit Card                                             D

Bac / Fleet Bankcard
PO Box 26012                                                                         J
Greensboro, NC 27420

                                                                                                                                                                      8,159.00
Account No. xxxx-xxxx-xxxx-9581

Bank of America
P.O. Box 15026                                                                       W
Wilmington, DE 19850-5026

                                                                                                                                                                      8,159.82
Account No. xxxx-xxxx-xxxx-3743                                                          visa signature

Bank of America
P.O. Box 15026                                                                       H
Wilmington, DE 19850-5026

                                                                                                                                                                    21,659.28
Account No. xxxxx xxx 2008                                                             --Lot 101 Sec 1 Trout Run SD
                                                                                       --Lots 18-19-BLK-4 Grants Adn to Baker Hgts
Berkeley County Emergency                                                              Route 9 3440-004-2008
Ambulance Auth                                                                       J --Tract B Lot 2 0.2761 Ac Nr Jefferson Line
400 West Stephen Street, Suite 207                                                     Route 9 3691 004 2008
Martinsburg, WV 25401
                                                                                                                                                                        300.00
Account No. xxxxx50-02                                                                   1744 Charles Town Road

Berkeley County PWSD
P.O. Box 737                                                                         J
Martinsburg, WV 25402

                                                                                                                                                                          21.95

           1
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    38,300.05
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxx2751                                                                 Opened 8/01/07                                          E
                                                                                         Credit Card                                             D

Chase - CC                                                                               United Mileage Plus
Attention: Banktruptcy Department                                                    H
PO Box 15298
Wilmintgon, DE 19850
                                                                                                                                                                    47,338.00
Account No. xxxxxxxx3690                                                                 Opened 4/01/05
                                                                                         Credit Card
Chase - CC
Attention: Banktruptcy Department                                                    J
PO Box 15298
Wilmintgon, DE 19850
                                                                                                                                                                      8,626.00
Account No. xxxxxxxx1655                                                                 Opened 12/01/07
                                                                                         Credit Card
Chase - CC                                                                               Marriott Rewards
Attention: Banktruptcy Department                                                    H
PO Box 15298
Wilmintgon, DE 19850
                                                                                                                                                                      6,191.00
Account No. xxxxxxxx7506                                                                 Opened 9/01/06
                                                                                         Credit Card
Citi
Attn: Centralized Bankruptcy                                                         J
PO Box 20507
Kansas City, MO 64915
                                                                                                                                                                    24,924.00
Account No. xxxxxxxx6435                                                                 Opened 8/01/04
                                                                                         Credit Card
Citi
Attn: Centralized Bankruptcy                                                         H
PO Box 20507
Kansas City, MO 64915
                                                                                                                                                                    17,003.00

           2
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  104,082.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxxxxxx6694                                                             Opened 10/01/03                                         E
                                                                                         Charge Account                                          D

Citibank USA
Attn.: Centralized Bankruptcy                                                        J
PO Box 20507
Kansas City, MO 64195
                                                                                                                                                                      7,968.00
Account No. xxxx2434

Clearview Funding, LLC
P.O. Box 2149                                                                    X J
Gig Harbor, WA 98335

                                                                                                                                                                        607.15
Account No. xxxxxxxxxxxx5270                                                             Opened 7/01/08
                                                                                         GE Capital Gem Loc Fixed Premi
Collection
Attn: Bankrutpcy Department                                                          H
PO Box 10587
Greenville, SC 29603
                                                                                                                                                                    38,889.00
Account No. xxxxxxxxxx1-04-7

Comcast
302 N. Mildred Street                                                                J
Ranson, WV 25438-1455

                                                                                                                                                                          29.28
Account No. xxxxxxxxxxxxx4770                                                            Opened 3/01/08
                                                                                         Charge Account
Dell Financial Services
Attn: Bankruptcy Dept.                                                               J
12234 North Ih 35
Austin, TX 78753
                                                                                                                                                                      2,674.00

           3
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    50,167.43
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.
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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx9839                                                                                                                             E
                                                                                                                                                 D

Earthlink Customer Service
P.O. Box 7645                                                                        J
Atlanta, GA 30357-7645

                                                                                                                                                                          43.90
Account No. xxx7758                                                                      1452903 63677

Ewing Heating Oil
P.O. Box 3147                                                                        J
Hagerstown, MD 21741-3147

                                                                                                                                                                        823.14
Account No. xxxxx-x1945

Farm Plan
P.O. Box 5328                                                                    X J
Madison, WI 53705-0328

                                                                                                                                                                      5,877.80
Account No. xxxxx6175

FedEX
P.O. Box 371451                                                                      J
Pittsburgh, PA 15250-7461

                                                                                                                                                                          26.83
Account No. xxxxxxxxx xxx1108

FedEx Customer Information Svcs,
Inc.                                                                                 J
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                          34.45

           4
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      6,806.12
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.
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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxx0063                                                                  26 Holmes Drive                                         E
                                                                                                                                                 D

First United Bank and Trust
P.O. Box 636                                                                         J
Oakland, MD 21550

                                                                                                                                                                    77,577.42
Account No. xxxxxxxxxxxxx2074                                                            2008
                                                                                         phone service
Frontier
1398 South Woodland Blvd                                                             J
Deland, FL 32720

                                                                                                                                                                        251.81
Account No. xxxxxxxx0552                                                                 Opened 3/01/08
                                                                                         Charge Account
GEMB/Ethan Allen
PO Box 981439                                                                        W
El Paso, TX 79998

                                                                                                                                                                      4,859.00
Account No. xxxxxxxx0403                                                                 Opened 9/04/07

GEMB/GE Money Loc
Attn: Bankruptcy                                                                     H
PO Box 103106
Roswell, GA 30076
                                                                                                                                                                    36,790.00
Account No. xxxxxxxxxxxx5270                                                             Opened 9/01/07
                                                                                         CheckCreditOrLineOfCredit
Gemb/Ge Money Loc
Attn: Bankruptcy                                                                     H
PO Box 103106
Roswell, GA 30076
                                                                                                                                                                    Unknown

           5
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  119,478.23
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. x86-27HW-CU                                                                                                                          E
                                                                                                                                                 D

Green Meadows HOA
c/o Clagett Enterprises                                                              J
20 W. Third Street
Frederick, MD 21701
                                                                                                                                                                        306.47
Account No. xxxxxxxxxxxx6694

Home Depot Credit Services
P.O. Box 689100                                                                      W
Des Moines, IA 50368-9100

                                                                                                                                                                      7,968.24
Account No. xxxx-xxxx-xxxx-8435                                                          GM Flexible Earnings Card

HSBC
Customer Center                                                                      W
P.O. Box 80082
Salinas, CA 93912-0082
                                                                                                                                                                      3,955.41
Account No. xxxxxxxxxxxx7036                                                             Opened 9/01/06
                                                                                         Credit Card
HSBC Bank                                                                                Mastercard
Attn: Bankruptcy                                                                     J
PO Box 5253
Carol Stream, IL 60197
                                                                                                                                                                      1,860.00
Account No. Jxxxxxxx6480

Jefferson Memorial Hospital
300 S. Preston Street                                                                H
Ranson, WV 25438

                                                                                                                                                                        288.66

           6
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    14,378.78
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. Jxxxxxxx7496                                                                                                                         E
                                                                                                                                                 D

Jefferson Memorial Hospital
300 S. Preston Street                                                                J
Ranson, WV 25438

                                                                                                                                                                        161.00
Account No. xx6309                                                                       10/06

Jefferson Memorial Hospital
300 S. Preston Street                                                                H
Ranson, WV 25438

                                                                                                                                                                      1,243.40
Account No. xxxxxxxxxx8694

Lowes
P.O. Box 103106                                                                      W
Roswell, GA 30076

                                                                                                                                                                      6,732.00
Account No. xxxxxxxxxxx2804

Mountaineer Gas Company
P.O. Box 362                                                                         J
Charleston, WV 25322

                                                                                                                                                                        281.13
Account No. xxxx-xxxx-xxxx-4039

Sears Charge Plus
P.O. Box 6283                                                                        W
Sioux Falls, SD 57117-6283

                                                                                                                                                                      2,688.25

           7
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    11,105.78
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx0084                                                                                                                             E
                                                                                                                                                 D

Taste of Home
P.O. Box 4002872                                                                     J
Des Moines, IA 50340-2872

                                                                                                                                                                          23.98
Account No. xxxx-x950-7

The Sherwin-Williams Co.
Accounts Receivable Department                                                       H
182 Flowing Springs Road
Charles Town, WV 25414-3911
                                                                                                                                                                        222.64
Account No. xxxxx3715

University Health Associates
P.O. Box 776                                                                         H
Morgantown, WV 26506-0766

                                                                                                                                                                          77.00
Account No. xxxxx3714

University Health Associates
P.O. Box 776                                                                         H
Morgantown, WV 26506-0766

                                                                                                                                                                        495.00
Account No. xxxxx3714

University Health Associates
P.O. Box 776                                                                         H
Morgantown, WV 26506-0766

                                                                                                                                                                        407.00

           8
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      1,225.62
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.
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   In re          Robert Patrick Adams,                                                                                       Case No.
                  Allison Withey Adams
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
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Account No. xxxxx8054                                                                                                                            E
                                                                                                                                                 D

University Health Associates
P.O. Box 776                                                                         W
Morgantown, WV 26506-0766

                                                                                                                                                                          92.00
Account No. xxxxx3714

University Health Associates
P.O. Box 776                                                                         J
Morgantown, WV 26506-0766

                                                                                                                                                                          30.00
Account No. xxxxx3706

University Health Associates
P.O. Box 776                                                                         J
Morgantown, WV 26506-0766

                                                                                                                                                                          10.00
Account No. xxxxxxx7708                                                                  Opened 1/08/02
                                                                                         Educational
USC Student Loan
PO Box 21337                                                                         W
Columbia, SC 29221

                                                                                                                                                                    12,039.00
Account No. xxxxxxx7709                                                                  Opened 1/08/02
                                                                                         Educational
USC Student Loan
PO Box 21337                                                                         W
Columbia, SC 29221

                                                                                                                                                                      9,978.00

           9
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    22,149.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Robert Patrick Adams,                                                                                             Case No.
                  Allison Withey Adams
                                                                                                                           ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxxxxxxxx38 27 Y                                                                                                                           E
                                                                                                                                                        D

Verizon
P.O. Box 660720                                                                      J
Dallas, TX 75266-0720

                                                                                                                                                                                 58.55
Account No. xxxxxxxx9338

Verizon
P.O. Box 17120                                                                       J
Tucson, AZ 85731-7120

                                                                                                                                                                                 58.55
Account No. xxx-xxxxxxx-x413-6                                                           261 Falcon Ridge Drive, Charles Town

Waste Management
2421 West Peoria Ave. Suite 210                                                      J
Phoenix, AZ 85029

                                                                                                                                                                               243.64
Account No.




Account No.




           10 of _____
Sheet no. _____    10 sheets attached to Schedule of                                                                                              Subtotal
                                                                                                                                                                               360.74
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)               403,647.21


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  In re             Robert Patrick Adams,                                                                            Case No.
                    Allison Withey Adams
                                                                                                          ,
                                                                                          Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                      State contract number of any government contract.

                     David H. Wilmoth, L.C.                                                  notice address for Wells Fargo Financial Leasing,
                     P.O. Box 933                                                            Inc.
                     Elkins, WV 26241

                     Wells Fargo Financial Leasing                                           Lessee on Lease 007-0110928-001 Lease is for
                     PO Box 6434                                                             nonresidential real property Lease on 30 x 10 x 60
                     Carol Stream, IL 60197                                                  Morton Building situated on the property of my
                                                                                             primary residence




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)
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  In re          Robert Patrick Adams,                                                                         Case No.
                 Allison Withey Adams
                                                                                                       ,
                                                                                          Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR

                  Great Inflates, LLC                                                        Clearview Funding, LLC
                  3568 Charles Town Rd                                                       P.O. Box 2149
                  Kearneysville, WV 25430                                                    Gig Harbor, WA 98335

                  Great Inflates, LLC                                                        Farm Plan
                  3568 Charles Town Rd                                                       P.O. Box 5328
                  Kearneysville, WV 25430                                                    Madison, WI 53705-0328




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
         No. 3:09-bk-00011              Doc 1       Filed 01/07/09           Entered 01/07/09 15:21:27                  Page 35 of 69
          Robert Patrick Adams
 In re    Allison Withey Adams                                                                          Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
                                             Son                                                         2
      Married                                Son                                                         4
                                             Daughter                                                    6
                                             Daughter                                                    8
Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Advocacy
Name of Employer                    Alliance for Marriage Foundation
How long employed                   Three Years
Address of Employer                 PO Box 2490
                                    Merrifield, VA 22116
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       8,486.23         $            0.00
2. Estimate monthly overtime                                                                             $           0.00         $            0.00

3. SUBTOTAL                                                                                              $         8,486.23       $             0.00

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $         1,028.34       $             0.00
     b. Insurance                                                                                        $             0.00       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):                                                                                 $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,028.34       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         7,457.89       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):           expense reimbursement (average amount pro rated)                                    $          237.50        $             0.00
                     Great Inflates                                                                      $          500.00        $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $          737.50        $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         8,195.39       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              8,195.39
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
B6J (Official Form 6J) (12/07)
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          Robert Patrick Adams
 In re    Allison Withey Adams                                                                Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                2,823.11
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                           $                  250.00
                   b. Water and sewer                                                                        $                    0.00
                   c. Telephone                                                                              $                  175.00
                   d. Other See Detailed Expense Attachment                                                  $                   38.50
3. Home maintenance (repairs and upkeep)                                                                     $                  200.00
4. Food                                                                                                      $                  800.00
5. Clothing                                                                                                  $                  100.00
6. Laundry and dry cleaning                                                                                  $                    0.00
7. Medical and dental expenses                                                                               $                  150.00
8. Transportation (not including car payments)                                                               $                  400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                  100.00
10. Charitable contributions                                                                                 $                  783.34
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                    0.00
                   b. Life                                                                                   $                   56.29
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                  114.40
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) See Detailed Expense Attachment                                                   $                  166.61
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other See Detailed Expense Attachment                                                  $                1,865.53
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other See Detailed Expense Attachment                                                                    $                  287.50

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                8,310.28
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      School expenses approximatley $563 a month. Will recur next Fall 2009.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                8,195.39
b. Average monthly expenses from Line 18 above                                                               $                8,310.28
c. Monthly net income (a. minus b.)                                                                          $                 -114.89
B6J (Official Form 6J) (12/07)
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          Robert Patrick Adams
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 In re    Allison Withey Adams                                                   Case No.
                                                            Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment
Other Utility Expenditures:
Garbage Pick-up                                                                             $                 8.50
HOA Dues                                                                                    $                30.00
Total Other Utility Expenditures                                                            $                38.50


Specific Tax Expenditures:
personal property                                                                           $                22.37
Real Property taxes CT Rd property                                                          $               144.24
Total Tax Expenditures                                                                      $               166.61


Other Installment Payments:
Student Loan Payment                                                                        $               193.00
Clearview secured by primary residence                                                      $               674.61
Charles Town Road Property                                                                  $               997.92
Total Other Installment Payments                                                            $          1,865.53


Other Expenditures:
personal care                                                                               $               100.00
Feed for animals & vet care                                                                 $               125.00
insurance for Charles Town Rd Property                                                      $                62.50
Total Other Expenditures                                                                    $               287.50
B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                                  United States Bankruptcy Court
                                                                     Northern District of West Virginia
             Robert Patrick Adams
 In re       Allison Withey Adams                                                                                   Case No.
                                                                                             Debtor(s)              Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                30       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 7, 2009                                                           Signature    /s/ Robert Patrick Adams
                                                                                             Robert Patrick Adams
                                                                                             Debtor


 Date January 7, 2009                                                           Signature    /s/ Allison Withey Adams
                                                                                             Allison Withey Adams
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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                                                                  United States Bankruptcy Court
                                                                     Northern District of West Virginia
             Robert Patrick Adams
 In re       Allison Withey Adams                                                                               Case No.
                                                                                             Debtor(s)          Chapter       7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $80,185.40                               2008 Husband Alliance for Marriage Foundation Employment income
                           $94,000.00                               2007 Husband Alliance for Marriage Foundation Employment income
                           $0.00                                    2007 business loss
                           $0.00                                    2007 rental real estate loss




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $42,000.00                               2008 Husband Sale of Billboard Leases Gain on Sale of Real Estate Easement

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                    AMOUNT PAID               OWING
 Wells Fargo Hm Mortgag                                                            monthly                        $8,490.00           $413,289.00
 Attention: Bankruptcy Department MAC-X
 3476 Stateview Blvd
 Fort Mill, SC 29715
 Clear View Funding, LLC                                                           monthly                        $2,250.00             $40,476.00
 P.O. Box 2149
 Gig Harbor, WA 98335
 WV State Tax Department                                                                                          $2,700.00              $3,000.00
 Charleston, WV
 Charleston, WV 25440

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                   AMOUNT
                                                                                   DATES OF                         PAID OR
                                                                                   PAYMENTS/                      VALUE OF            AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                     TRANSFERS              OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT             AMOUNT PAID              OWING




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               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY               STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                  DISPOSITION
 Citibank SBNA                                   Creditor Suit                               Circuit Court of Jefferson    Pending
 08-0-467                                                                                    County, WV
                                                                                             Charles Town, WV
 American Express Centurian Civil collection suit                                            Jefferson County Circuit      pending
 Bank v. Robert Adams 08-C-                                                                  Court, WV
 517

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                    DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                 PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                         DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                       FORECLOSURE SALE,               DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                      TRANSFER OR RETURN                        PROPERTY
 First United Bank                                                      October 2008                       Foreclosure
 Martinsburg, WV                                                                                           27 Holmes Drive
                                                                                                           Charles Town, WV 25414
                                                                                                           Value: 130000
 Homeq                                                                  December 2008                      Rental: Single family home; Currently Vacant
 Attn: Bankruptcy Department                                                                               Location: 1744 Charlestown Road
 1100 Corporate Center                                                                                     Martinsburg, WV 25405 (Berkeley County)
 Raleigh, NC 27607                                                                                         $125,000.00

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                         TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                             DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                       ORDER               PROPERTY




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               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                    DATE OF GIFT       VALUE OF GIFT
 Bolivar Pentecostal Church                                        Church                             2008              Weekly tithe of $180
 Camp Ground Road                                                                                                       Value: $8820
 Bolivar, WV 25425

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                              LOSS WAS COVERED IN WHOLE OR IN PART
      OF PROPERTY                                                                       BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS
 Business losses                                                                  General business losses                        2008

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                           OF PROPERTY
 Kratovil and Amore                                                               12/08                                1500
 Washington Street
 Charlestown, WV 25414

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                                   DATE                          AND VALUE RECEIVED
 Auto Buying Service                                                            November 2008         2000 GMC Truck
 Fairfax, VA                                                                                          Value: 5000
    None
 Third Party Purchaser                                                          Fall 2008             Short sale of 52 Lombard St, Martinsburg.
                                                                                                      Property sold for less than amount owed to
     none                                                                                             secured creditors.
 Carmax                                                                         June2008              2004 Chevy Suburban Sold for $7,000
 Dulles, VA
   business




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    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)            IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                    TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                    OR CLOSING
 Bank of America                                                                  Personal Checking 7908                 0
 Frederick, MD                                                                    Final Balance: 0                       June 2008
 Bank of America                                                                  Business Checking Account              0
 Frederick, MD                                                                    Final Balance: 0                       December 2007

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION             DATE OF TRANSFER OR
   OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                      OF CONTENTS              SURRENDER, IF ANY
 Jefferson Security Bank                                      Robert P. Adams                           Important legal         November 2009
 873 E Washington St                                          415 Paso Corto Drive                      documents, such as
 Charlestown, WV 25414                                        Kearneysville, WV 25430                   birth certificates,
                                                                                                        passports, and etc...
                                                                                                        Does not contain any
                                                                                                        items of monetary
                                                                                                        value

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                         AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                        LOCATION OF PROPERTY




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               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY
 261 Falcon Ridge Drive                                                           same                                 10/05 - 1/08
 Charlestown WV 25414-0000
 current                                                                          same                                 2/08 to present

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                      DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                 LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                      DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                 LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                     NATURE OF BUSINESS          ENDING DATES
 Great Inflates, LLC                                                       3568 Charlestown Road       party rentals business      October 2003 -
                                                                           Kearneysville, WV 25430                                 present

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                             DATES SERVICES RENDERED
 Chad Lawyer                                                                                                  October 2003 - present
 Ours, Lawyer, Lewis Company, LLC
 1107 Winchester Avenue
 Martinsburg, WV 25401

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                           ADDRESS
 Chad Lawyer                                                                                    Ours, Lawyer, Lewis Company, PLLC
 Books are prepared on an annual basis with tax return and have                                 1107 Winchester Avenue
 not yet been prepared for fy 2008; All records/bank statements for                             Martinsburg, WV 25401
 2008 are in the possession of the debtors

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    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP
 Robert P. Adams                                                                member                          50%

 Allison W. Adams                                                               member                          50%



               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY




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                                                                                                                                                                      9

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                   TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date January 7, 2009                                                           Signature    /s/ Robert Patrick Adams
                                                                                             Robert Patrick Adams
                                                                                             Debtor


 Date January 7, 2009                                                           Signature    /s/ Allison Withey Adams
                                                                                             Allison Withey Adams
                                                                                             Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                    Northern District of West Virginia
             Robert Patrick Adams
 In re       Allison Withey Adams                                                                                  Case No.
                                                                                           Debtor(s)               Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Bank Of America                                                                            Farm Home with two barns on 27.5 acres. Acreage and barns
                                                                                            were rented for horse boarding and training.
                                                                                            Location: 261 Falcon Ridge Drive
                                                                                            Charles Town, WV 25414

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Clear View Funding, LLC                                                                    Residence: Single Family Home; Primary Residence on 5
                                                                                            acre lot
                                                                                            Location: 415 Paso Corto Drive
                                                                                            Kearneysville, WV 25430

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt




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 Property No. 3

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Countrywide Home Lending                                                                  Residence Addl: Single family home; Used for business
                                                                                           purposes
                                                                                           Location: 3568 Charles Town Road (also addressed as 3582)
                                                                                           Kearneysville, WV 25430 (Berkeley County)

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Countrywide Home Lending                                                                  Rental: Townhome; Rental Property; Currently Vacant
                                                                                           Location: 113 N. Church Street
                                                                                           Charlestown, WV 25414

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

 Property No. 5

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Countrywide Home Lending                                                                  Rental: Townhome; Rental Property; Currently Vacant
                                                                                           Location: 113 N. Church Street
                                                                                           Charlestown, WV 25414

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt


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 Property No. 6

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Homeq                                                                                     Rental: Single family home; Currently Vacant
                                                                                           Location: 1744 Charlestown Road
                                                                                           Martinsburg, WV 25405 (Berkeley County)

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

 Property No. 7

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Homeq                                                                                     Rental: Single family home; Currently Vacant
                                                                                           Location: 1744 Charlestown Road
                                                                                           Martinsburg, WV 25405 (Berkeley County)

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

 Property No. 8

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Mid Atlantic Farm Credit, ACA                                                             John Deere 4720Tractor, x400 loader and post hole digger
                                                                                           31A

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt




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 Property No. 9

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Toyota Motor Credit                                                                       Auto: 2006 Toyota Tundra; Fair; 38,000 miles

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

 Property No. 10

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Wells Fargo Bank NV NA                                                                    Farm Home with two barns on 27.5 acres. Acreage and barns
                                                                                           were rented for horse boarding and training.
                                                                                           Location: 261 Falcon Ridge Drive
                                                                                           Charles Town, WV 25414

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt




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 Property No. 11

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Wells Fargo Home Mortgage                                                                  Residence: Single Family Home; Primary Residence on 5
                                                                                            acre lot
                                                                                            Location: 415 Paso Corto Drive
                                                                                            Kearneysville, WV 25430

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                   Describe Leased Property:                     Lease will be Assumed pursuant to 11
 -NONE-                                                                                                         U.S.C. § 365(p)(2):
                                                                                                                   YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date January 7, 2009                                                          Signature   /s/ Robert Patrick Adams
                                                                                           Robert Patrick Adams
                                                                                           Debtor


 Date January 7, 2009                                                          Signature   /s/ Allison Withey Adams
                                                                                           Allison Withey Adams
                                                                                           Joint Debtor




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             Robert Patrick Adams
 In re       Allison Withey Adams                                                                                     Case No.
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                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $                  1,500.00
              Prior to the filing of this statement I have received                                               $                  1,500.00
              Balance Due                                                                                         $                      0.00

2.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       January 7, 2009                                                               /s/ Aaron C. Amore
                                                                                            Aaron C. Amore WV#6455
                                                                                            Kratovil & Amore, PLLC
                                                                                            211 W. Washington Street
                                                                                            Charles Town, WV 25414
                                                                                            (304) 728 7718 Fax: (304) 728 7720
                                                                                            amore@charlestownlaw.com




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                                                      UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF WEST VIRGINIA

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE

          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Aaron C. Amore WV#6455                                                                   X /s/ Aaron C. Amore                      January 7, 2009
Printed Name of Attorney                                                                    Signature of Attorney                   Date
Address:
211 W. Washington Street
Charles Town, WV 25414
(304) 728 7718
amore@charlestownlaw.com

                                                                               Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Robert Patrick Adams
 Allison Withey Adams                                                                     X /s/ Robert Patrick Adams                January 7, 2009
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                     Date

 Case No. (if known)                                                                      X /s/ Allison Withey Adams                January 7, 2009
                                                                                            Signature of Joint Debtor (if any)      Date




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                                                                  United States Bankruptcy Court
                                                                     Northern District of West Virginia
             Robert Patrick Adams
 In re       Allison Withey Adams                                                                               Case No.
                                                                                             Debtor(s)          Chapter     7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      January 7, 2009                                                     /s/ Robert Patrick Adams
                                                                                Robert Patrick Adams
                                                                                Signature of Debtor

 Date:      January 7, 2009                                                     /s/ Allison Withey Adams
                                                                                Allison Withey Adams
                                                                                Signature of Debtor




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                          Robert Patrick Adams
                          415 Paso Corto Drive
                          Kearneysville, WV 25430

                          Allison Withey Adams
                          415 Paso Corto Drive
                          Kearneysville, WV 25430

                          Aaron C. Amore
                          Kratovil & Amore, PLLC
                          211 W. Washington Street
                          Charles Town, WV 25414

                          Allegheny Power
                          800 Cabin Hill Drive
                          Greensburg, PA 15606

                          American Express
                          c/o Becket and Lee
                          PO Box 3001
                          Malvern, PA 19355

                          Andrew S. Lerner
                          Zwicker & Associates, PC
                          401 Professional Dr
                          Suite 150
                          Gaithersburg, MD 20878

                          AOL
                          P.O. Box 30623
                          Tampa, FL 33630-0623

                          Bac / Fleet Bankcard
                          PO Box 26012
                          Greensboro, NC 27420

                          Bank Of America
                          475 Crosspoint Pkwy
                          Getzville, NY 14068

                          Bank of America
                          P.O. Box 15026
                          Wilmington, DE 19850-5026
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                      Berkeley County Emergency Ambulance Auth
                      400 West Stephen Street, Suite 207
                      Martinsburg, WV 25401

                      Berkeley County PWSD
                      P.O. Box 737
                      Martinsburg, WV 25402

                      Chase - CC
                      Attention: Banktruptcy Department
                      PO Box 15298
                      Wilmintgon, DE 19850

                      Citi
                      Attn: Centralized Bankruptcy
                      PO Box 20507
                      Kansas City, MO 64915

                      Citibank USA
                      Attn.: Centralized Bankruptcy
                      PO Box 20507
                      Kansas City, MO 64195

                      Clear View Funding, LLC
                      P.O. Box 2149
                      Gig Harbor, WA 98335

                      Clearview Funding, LLC
                      P.O. Box 2149
                      Gig Harbor, WA 98335

                      Collection
                      Attn: Bankrutpcy Department
                      PO Box 10587
                      Greenville, SC 29603

                      Comcast
                      302 N. Mildred Street
                      Ranson, WV 25438-1455

                      Countrywide Home Lending
                      Attention: Bankruptcy SV-314B
                      Po Box 5170
                      Simi Valley, CA 93062
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                      Credit Collections, USA
                      P.O. Box 873
                      Morgantown, WV 26507

                      David H. Wilmoth, L.C.
                      P.O. Box 933
                      Elkins, WV 26241

                      Dell Financial Services
                      Attn: Bankruptcy Dept.
                      12234 North Ih 35
                      Austin, TX 78753

                      Earthlink Customer Service
                      P.O. Box 7645
                      Atlanta, GA 30357-7645

                      Ewing Heating Oil
                      P.O. Box 3147
                      Hagerstown, MD 21741-3147

                      Farm Plan
                      P.O. Box 5328
                      Madison, WI 53705-0328

                      FedEX
                      P.O. Box 371451
                      Pittsburgh, PA 15250-7461

                      FedEx Customer Information Svcs, Inc.
                      507 Prudential Road
                      Horsham, PA 19044

                      First United Bank and Trust
                      P.O. Box 636
                      Oakland, MD 21550

                      Frontier
                      1398 South Woodland Blvd
                      Deland, FL 32720

                      GEMB/Ethan Allen
                      PO Box 981439
                      El Paso, TX 79998
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                      GEMB/GE Money Loc
                      Attn: Bankruptcy
                      PO Box 103106
                      Roswell, GA 30076

                      Great Inflates, LLC
                      3568 Charles Town Rd
                      Kearneysville, WV 25430

                      Green Meadows HOA
                      c/o Clagett Enterprises
                      20 W. Third Street
                      Frederick, MD 21701

                      Home Depot Credit Services
                      P.O. Box 689100
                      Des Moines, IA 50368-9100

                      Homeq
                      Attn: Bankruptcy Department
                      1100 Corporate Center
                      Raleigh, NC 27607

                      HSBC
                      Customer Center
                      P.O. Box 80082
                      Salinas, CA 93912-0082

                      HSBC Bank
                      Attn: Bankruptcy
                      PO Box 5253
                      Carol Stream, IL 60197

                      Jefferson Memorial Hospital
                      300 S. Preston Street
                      Ranson, WV 25438

                      Lowes
                      P.O. Box 103106
                      Roswell, GA 30076

                      Mapother & Mapother, PSC
                      801 West Jefferson Street
                      Louisville, KY 40202-2606
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                      Mid Atlantic Farm Credit, ACA
                      1614 Churchville Rd
                      Suite 102
                      P.O. Box 648
                      Bel Air, MD 21014

                      Mountaineer Gas Company
                      P.O. Box 362
                      Charleston, WV 25322

                      Sears Charge Plus
                      P.O. Box 6283
                      Sioux Falls, SD 57117-6283

                      Taste of Home
                      P.O. Box 4002872
                      Des Moines, IA 50340-2872

                      The Sherwin-Williams Co.
                      Accounts Receivable Department
                      182 Flowing Springs Road
                      Charles Town, WV 25414-3911

                      Toyota Motor Credit
                      Must call 800-874-8822 for mailing addre

                      University Health Associates
                      P.O. Box 776
                      Morgantown, WV 26506-0766

                      USC Student Loan
                      PO Box 21337
                      Columbia, SC 29221

                      Verizon
                      P.O. Box 660720
                      Dallas, TX 75266-0720

                      Verizon
                      P.O. Box 17120
                      Tucson, AZ 85731-7120

                      Waste Management
                      2421 West Peoria Ave. Suite 210
                      Phoenix, AZ 85029
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                      Wells Fargo Bank NV NA
                      PO Box 31557
                      Billings, MT 59107

                      Wells Fargo Financial Leasing
                      PO Box 6434
                      Carol Stream, IL 60197

                      Wells Fargo Home Mortgage
                      Attention: Bankruptcy Department MAC-X
                      3476 Stateview Blvd
                      Fort Mill, SC 29715

                      WV State Tax Department
                      Charleston, WV
                      Charleston, WV 25440
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        Robert Patrick Adams
 In re  Allison Withey Adams                                                            According to the information required to be entered on this statement
                            Debtor(s)                                                     (check one box as directed in Part I, III, or VI of this statement):
 Case Number:                                                                                   The presumption arises.
                       (If known)
                                                                                                The presumption does not arise.
                                                                                                The presumption is temporarily inapplicable.


                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                            AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Unless the
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete a
separate statement.

                                                  Part I. MILITARY AND NON-CONSUMER DEBTORS
              Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
              VIII. Do not complete any of the remaining parts of this statement.
    1A
                 Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
              38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
              101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
              Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B        Do not complete any of the remaining parts of this statement.
                  Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
              Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
              Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
              2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
              at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
              days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
              required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
              temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
              are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
              which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
              before your exclusion period ends.
                 Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C        that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
              National Guard

                                        a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                         I remain on active duty /or/
                                                         I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                        filed;

                                                     OR

                                        b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                               I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                             540 days before this bankruptcy case was filed.




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                         Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.      Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                    "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2              purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                    for Lines 3-11.
              c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                    ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income received from all sources, derived during the six          Column A           Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before
              the filing. If the amount of monthly income varied during the six months, you must divide the               Debtor's           Spouse's
              six-month total by six, and enter the result on the appropriate line.                                       Income             Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                     $                          $
              Income from the operation of a business, profession or farm. Subtract Line b from Line a and
              enter the difference in the appropriate column(s) of Line 4. If you operate more than one
              business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
              not enter a number less than zero. Do not include any part of the business expenses entered on
     4        Line b as a deduction in Part V.
                                                                          Debtor                 Spouse
               a.     Gross receipts                               $                      $
               b.     Ordinary and necessary business expenses $                          $
               c.     Business income                              Subtract Line b from Line a               $                          $
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
              part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                    Debtor                 Spouse
               a.     Gross receipts                               $                      $
               b.     Ordinary and necessary operating expenses $                         $
               c.     Rent and other real property income          Subtract Line b from Line a               $                          $
     6        Interest, dividends, and royalties.                                                                   $                   $
     7        Pension and retirement income.                                                                        $                   $
              Any amounts paid by another person or entity, on a regular basis, for the household
              expenses of the debtor or the debtor's dependents, including child support paid for that
     8
              purpose. Do not include alimony or separate maintenance payments or amounts paid by your
              spouse if Column B is completed.                                                                      $                   $
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9        or B, but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act Debtor $                       Spouse $                   $                   $
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Do not include alimony or separate maintenance payments paid by your
              spouse if Column B is completed, but include all other payments of alimony or separate
              maintenance. Do not include any benefits received under the Social Security Act or payments
              received as a victim of a war crime, crime against humanity, or as a victim of international or
    10        domestic terrorism.
                                                                         Debtor                   Spouse
               a.                                                  $                      $
               b.                                                  $                      $
              Total and enter on Line 10                                                                   $                            $
              Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
    11
              Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $                            $




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              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12        Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
              the amount from Line 11, Column A.                                                                           $

                                                  Part III. APPLICATION OF § 707(b)(7) EXCLUSION
              Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
    13
              enter the result.                                                                                                     $
              Applicable median family income. Enter the median family income for the applicable state and household size.
    14        (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
               a. Enter debtor's state of residence:                                   b. Enter debtor's household size:   $
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.
                The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
    15
                top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                        Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                           Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                        $
              Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
              Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
              dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
              spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
              amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17        not check box at Line 2.c, enter zero.
               a.                                                                                    $
               b.                                                                                    $
               c.                                                                                    $
               d.                                                                                    $
              Total and enter on Line 17                                                                                            $
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                           Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
   19A        Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                     $
              National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-of-
              Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket
              Health Care for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
              clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are under 65 years
              of age, and enter in Line b2 the number of members of your household who are 65 years of age or older. (The total
              number of household members must be the same as the number stated in Line 14b.) Multiply Line a1 by Line b1 to
   19B        obtain a total amount for household members under 65, and enter the result in Line c1. Multiply Line a2 by Line
              b2 to obtain a total amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and
              c2 to obtain a total health care amount, and enter the result in Line 19B.
                     Household members under 65 years of age                  Household members 65 years of age or older
               a1.     Allowance per member                              a2.      Allowance per member
               b1.     Number of members                                 b2.      Number of members
               c1.     Subtotal                                          c2.      Subtotal                                       $
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   20A        Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                        $




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              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
              Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter
   20B        the result in Line 20B. Do not enter an amount less than zero.
               a.       IRS Housing and Utilities Standards; mortgage/rental expense      $
               b.       Average Monthly Payment for any debts secured by your
                        home, if any, as stated in Line 42                                $
               c.       Net mortgage/rental expense                                       Subtract Line b from Line a.                $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
              20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
              contention in the space below:
                                                                                                                                      $
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
   22A
                    0      1        2 or more.
              If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
              Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
              Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
              Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
              Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
              for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B        you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
              Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
              court.)                                                                                                                $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
              you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
              vehicles.)
                    1      2 or more.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
              Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
              the result in Line 23. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs                    $
                        Average Monthly Payment for any debts secured by Vehicle
               b.       1, as stated in Line 42                                          $
               c.       Net ownership/lease expense for Vehicle 1                        Subtract Line b from Line a.                 $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
              the "2 or more" Box in Line 23.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
              Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
    24
              the result in Line 24. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs                    $
                        Average Monthly Payment for any debts secured by Vehicle
               b.       2, as stated in Line 42                                          $
               c.       Net ownership/lease expense for Vehicle 2                        Subtract Line b from Line a.                 $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25        state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
              security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $
              Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
              Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $

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              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
              any other form of insurance.                                                                                                $
              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
              include payments on past due obligations included in Line 44.                                                               $
              Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
              the total average monthly amount that you actually expend for education that is a condition of employment and for
    29
              education that is required for a physically or mentally challenged dependent child for whom no public education
              providing similar services is available.                                                                          $
              Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
    30
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.               $
              Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
              health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
    31
              insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
              include payments for health insurance or health savings accounts listed in Line 34.                                         $
              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
              actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
    32
              pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                          $
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                         $
                                                      Subpart B: Additional Living Expense Deductions
                                      Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
              the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
              dependents.
    34
               a.         Health Insurance                                             $
               b.         Disability Insurance                                         $
               c.         Health Savings Account                                       $                                                  $
              Total and enter on Line 34.
              If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
              below:
              $
              Continued contributions to the care of household or family members. Enter the total average actual monthly
              expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
    35
              ill, or disabled member of your household or member of your immediate family who is unable to pay for such
              expenses.                                                                                                                   $
              Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
              other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                $
              Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
              Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
    37
              trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
              claimed is reasonable and necessary.                                                                            $
              Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
              actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or secondary
    38        school by your dependent children less than 18 years of age. You must provide your case trustee with
              documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
              necessary and not already accounted for in the IRS Standards.                                                               $




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              Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39        Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
              or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
              reasonable and necessary.                                                                                             $
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
    40
              financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                           $
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $
                                                              Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that you
              own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
              and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
    42
              amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
              bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
              Average Monthly Payments on Line 42.
                    Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                          Payment include taxes
                                                                                                                    or insurance?
                a.                                                                            $                        yes no
                                                                                                  Total: Add Lines                  $
              Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
              motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
              your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
    43
              payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
              sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
              the following chart. If necessary, list additional entries on a separate page.
                     Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                a.                                                                              $
                                                                                                                Total: Add Lines    $
              Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44        priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
              not include current obligations, such as those set out in Line 28.                                                    $
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
              chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.       Projected average monthly Chapter 13 plan payment.                    $
    45         b.       Current multiplier for your district as determined under schedules
                        issued by the Executive Office for United States Trustees. (This
                        information is available at www.usdoj.gov/ust/ or from the clerk of
                        the bankruptcy court.)                                                x
               c.       Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b         $
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $
                                                             Subpart D: Total Deductions from Income
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $

                                            Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $
              60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
    51
              result.                                                                                                               $




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              Initial presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52
                 The amount set forth on Line 51 is more than $10,950 Check the box for "The presumption arises" at the top of page 1 of this
              statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                    The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53 through 55).
    53        Enter the amount of your total non-priority unsecured debt                                                                           $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                               $
              Secondary presumption determination. Check the applicable box and proceed as directed.
                  The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
              of this statement, and complete the verification in Part VIII.
    55
                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
              of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                          Part VII. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
              you and your family and that you contend should be an additional deduction from your current monthly income under §
              707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
              each item. Total the expenses.

    56                 Expense Description                                                                                        Monthly Amount
               a.                                                                                               $
               b.                                                                                               $
               c.                                                                                               $
               d.                                                                                               $
                                                                         Total: Add Lines a, b, c, and d        $

                                                                         Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                            Date: January 7, 2009                                         Signature: /s/ Robert Patrick Adams
                                                                                                       Robert Patrick Adams
    57                                                                                                            (Debtor)

                                 Date:      January 7, 2009                                         Signature       /s/ Allison Withey Adams
                                                                                                                     Allison Withey Adams
                                                                                                                               (Joint Debtor, if any)




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